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                                                   February 5, 2024

   Patricia S. Dodszuweit, Clerk of Court
   U.S. Court of Appeals for the Third Circuit
   21400 United States Courthouse
   601 Market Street
   Philadelphia, PA 19106-1790

               Re: Letter pursuant to Fed. R. App. P. 28(j) in No. 23-1900, Siegel v.
               Attorney General of New Jersey and No. 23-2043, Koons v. Attorney
               General of New Jersey.

   Dear Ms. Dodszuweit:

             Lara v. Commissioner, 2024 WL 189453 (3d. Cir. 2024)1—which dealt with
   a different statute and a different historical record—has no bearing on this case. The
   parties do not dispute that the questions are different: nothing in this case turns on the
   scope of the term “the People” in the Second Amendment. See Dkt. 134 at 1. The Siegel
   Appellees instead argue that Lara is important to the resolution of this case because of
   its treatment of Reconstruction-era evidence. But Lara decided only whether to use
   Founding- or Reconstruction-era evidence when the court has to “pick between the two
   timeframes”—when “there is daylight between how each generation understood a
   particular right.” 2024 WL 189453 at * 8, n.14. Because that panel believed there was
   evidence that the Founding generation saw 18-year-olds as having the right to bear
   arms, it resolved the perceived conflict in favor of Founding-era evidence. Id. at *9
   (citing Founding-era militia requirement for 18-to-20-year-olds).



   1
       A petition for rehearing en banc is anticipated, see No. 21-1832.



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            But Lara is inapposite where there is no conflict between Founding- and
  Reconstruction-era evidence, and thus where the Court can continue to look at the entire
  history in assessing the validity of restrictions on firearms in sensitive places. See Dkt.
  43 at 13-26 (record evidence of prohibitions on firearms in sensitive places dating from
  before the Founding, in the antebellum era, and through the Reconstruction period);
  Dkt. 108 at 26-42 (same). Indeed, had Lara intended to foreclose the use of
  Reconstruction-era evidence absent direct conflict, it would have said so, and noted its
  split with the Second Circuit. See Antonyuk v. Chiumento, 89 F.4th 271, 339, 361, 375-
  76 (2d Cir. 2023). And although the Siegel Appellees argue there were more sensitive-
  place laws at Reconstruction than the Founding, that is not a conflict: the lack of
  “positive legislation from a particular place” and particular time may reflect only “a
  lack of political demand rather than constitutional limitations.” Id. at 301-02. That does
  not show either generation saw sensitive-place restrictions as unlawful; instead, the
  national tradition is consistently to the contrary.



                                        Respectfully yours,
                                       MATTHEW J. PLATKIN
                                       ATTORNEY GENERAL OF NEW JERSEY

                                  By: /s/ Angela Cai
                                      Angela Cai
                                      Deputy Solicitor General


Word Count: 350

CC: All counsel via ECF
